 AFFIDAVIT OF KYLE HUOSON



 STATE OF WISCON$IN }
 clTY oF suN PRATRTE )

 1 My nama ls Kyle Huelson I am over lho ago ol 19 All lha locts ststsd hetoin ars lru0
 cnd based on my porsonal knowledgo.

 2. lam a roeld€nt ol Wis<pnsn and ive al
 I
 3. I was aypointed as a ctnvasse( al Sun Prfiirlft Cily Munblpal Building hcatsd al ?598 W
 Main Streel, Sun Ptaitia, Wl 53590

 4. lonfued at lho 0bove address on Nowmbsr 9. 2020 8t 8:30 a.rn. to complale lna
 cBnvas$lng work asslgned lo ma.

 5. ldid not enlet or atiempl to snlst re6trict€d places wilhin lhe polling locslion ldid nol
 intertere in any way wft lhe procoss of voting, ncr rnark or alter aoy oflic;al eiect'on
 reco.d.

 6. Ai llnt na werc told lo hsv6, when I slated I wodd not they conceded and allowed mo lo
 walch r viriutl:oom crll of thc proc€edlng3

 7. As a result, I had no meaninoful way lo obsoruo the csnvossing process.


 8. ThE vldeo fesd for ho canvass was unmliable. lt continually frozo dudrg the counling
 proc€88,

 9. lwt6 nd allow€d to obeeir'a tho count and numbore being written ond verilirsd by lhose
 psdoming the count.

 10. There werc more lhan 10 counllng enors whllo ths canvass took plaf4.


 1 1. I doclaro undcr pcnalty ofporiury pursuanl lo thal the forgolng is tru6 Ind corrsct.

 Fx€csted on lho t0 dsy of Novembor, 2020




Subgerlbsd and alom to boforo mo
This I I day of AJnrr . 2020



Notsry                                 WI
My Comml*sion expirer




                E,Rrmor Jo8tFH mutY
                     iotrt tuolc
                   lhlr d'H&olntn
                                                                                    Exhibit 43



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